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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 BEAR CREEK BIBLE CREEK et al.,                  §
                                                 §
      Plaintiffs,                                §
                                                 §
 v.                                              §    Civil Action No. 4:18-cv-00824-O
                                                 §
 EQUAL EMPLOYMENT                                §
 OPPORTUNITY COMMISSION et al.,                  §
                                                 §
      Defendants.                                §


                                      FINAL JUDGMENT

         On November 22, 2021, the Court issued an Amended Memorandum Opinion and Order

(ECF No. 124), granting in part and denying in part Motion to Certify Class (ECF No. 71); granting

in part and denying in part Motion for Summary Judgment (ECF No. 72); and granting in part and

denying in part Motion for Summary Judgment (ECF No. 95).

         In accordance with the Court’s Order:

         1. Defendants’ Motion for summary judgment based on standing, ripeness, and sovereign

             immunity is denied.

         2. Plaintiffs’ Religious Business-Type Employers Class is certified.

         3. Plaintiffs’ All Opposing Employers Class is certified as to Claims 4 and 5.

         4. Plaintiffs’ Motion for Summary Judgment is denied as to Bear Creek Church and the

             Church-Type Employers Class, because these employers are not burdened by Title VII.

         5. Plaintiffs’ Motion for Summary Judgment is granted as to the Religious Business-Type

             Employers Class, and those in that class are protected by the Religious Freedom

             Restoration Act and the First Amendment.
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       6. Plaintiffs’ Motion for Summary Judgment is granted as to employer policies on sexual

           conduct, dress codes, and restrooms. These policies do not violate Title VII as a matter

           of law.

       7. Defendants’ Motion for Summary Judgment is granted as to employer policies

           concerning bisexual conduct, sex-reassignment surgery, and hormone treatment.

       This is a final judgment that fully and finally resolves all remaining parties and claims to

this suit and may be appealed. All relief not herein granted is denied.

       SO ORDERED on this 14th day of December, 2021.


                                                  _____________________________________
                                                  Reed O’Connor
                                                  UNITED STATES DISTRICT JUDGE
